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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:17-cv-308-RM-KMT

   ERYN R. MEGNA,
   ROBERT V. MEGNA, and
   BACKSTREET BISTRO, LLC

          Plaintiffs,
   v.

   LITTLE SWITZERLAND OF AMERICA CANDY FACTORY, INC.,
   KRISTINE M. ULLEMEYER, and
   HAYES ULLEMEYER

          Defendants.


  MOTION FOR EXTENSION OF TIME TO FILE [PROPOSED] SCHEDULING ORDER


         Plaintiffs, by and through undersigned counsel, hereby submit the following Motion for

  Extension of Time to File [Proposed] Scheduling Order:

                        CERTIFICATION PURSUANT TO D.C.COLO. LCIVR. 7.1

         Counsel for Plaintiffs, Julian G.G. Wolfson, hereby certifies that he conferred with

  counsel for Defendants before filing this motion, and counsel indicated that Defendants do not

  oppose the relief sought herein.

                                             ARGUMENT

         1. The parties Proposed Scheduling Order was due on April 16, 2018.

         2. On April 16, 2018, Plaintiffs’ counsel called the Court’s Clerk to inform the Court

             that the parties would not be prepared to file until April 17, 2018.

         3. Despite the best efforts of both parties, counsel needs additional time to finalize the

             Proposed Scheduling Order.
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         4. Accordingly, Plaintiffs’ hereby request that the Court grant the parties an extension of

            time, up to and including April 18, 2018, to file the Proposed Scheduling Order in the

            instant matter.

                                           CONCLUSION

         5. Plaintiffs respectfully request that the Court grant its Motion for Extension of Time to

            File [Proposed] Scheduling Order.

                Dated this 17th day of April, 2018.

                                               /s/Julian G.G. Wolfson
                                               Julian G.G. Wolfson
                                               LAW OFFICE OF JULIAN G.G. WOLFSON, LLC
                                               1630 Welton Street #413
                                               Denver, CO 80202
                                               (720) 507-5133
                                               jwolfsonlaw@gmail.com

                                               Attorney for Plaintiffs

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 17th day of April, 2018, a true and correct copy of the
  above and foregoing MOTION FOR EXTENSION OF TIME TO FILE [PROPOSED]
  SCHEDULING ORDER was electronically filed with the Clerk of the Court using CM/ECF
  system and served on the following:

  Roger F. Sagal
  Sagal Law, LLC
  PO BOX 1168
  241 S. Elizabeth Street
  Ridgway, CO 81432
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  E-mail: roger@sagalgroup.com

  ATTORNEY FOR DEFENDANTS




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